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SANTARPIA LAW

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September 27, 2021

RE: Thomas F. Sibick
To Whom It May Concern:

I am writing this letter to share my impression of Thomas F, Sibick.

lam an attorney who has been practicing for 28 years in the Wester New York Area. My
practice is of a general nature with a concentration in criminal, matrimonial, family and real estate
law.

I have been acquainted with Thomas Sibick over the past eleven (11) years. Thomas
worked for a law firm which I was affiliated with at the time. I recall that he had a strong desire to
pursue a career in law and had the ability and drive to accomplish this goal. He had not yet attended
law school, but he was working in the field to gain experience. I observed Thomas during his
employment with Feuerstein & Smith, LLP. We developed a friendship and besides our legal
related encounters, we both enjoyed exercising as a hobby and he would oftentimes join me and a
fellow lawyer at several work-out sessions. I feel I have gotten to know Thomas on a variety of
levels. I have also become acquainted with his family who are very good decent people.

In October, 2016, I hired Thomas in my law office. Thomas worked on a variety of cases
until June 2017 when I believe he finally found the right time to pursue his dream of a legal
education and career. Unfortunately, the timing was not right for Thomas, and he once again had to
put his dream of law school on hold.

Thomas and I have stayed in close contact over the years. I have been with him on many
social occasions, and in a variety of settings. During his employment with my office, I had him
accompany me to several court appearances and client meetings. ] always found Thomas to be a
person who knew how to act in any situation and someone who is extremely relatable to a wide
variety of people, young and old. I found this to be one of his strong suits. He was never
inappropriate, nor has he ever been unaware of the importance of mutual respect or social
boundaries.

I submit this character reference on behalf of Thomas Sibick because I know Thomas and
have relied upon him in my law firm. He never disappointed me. I found his maturity and diligence
very helpful in my practice and I never felt as if ] was “pawning off” any work or client contact
when assigning matters to Thomas. He genuinely cares about other people.
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His family has asked me if | would submit a character reference on Thomas’s behalf. I do
this without any reservation. Thomas has many supportive friends and family in the Western New
York Area, Thomas is a good and genuine person who always tries to do the right thing. I have
read about the January 6"" accusations made against Thomas and am unable to comment other than
to say, this is not apart of Thomas Sibick’s character, nor is it consistent with the type of person I
have come to know over the past eleven (11) years.

Thank you for the opportunity to speak about Thomas. If there is anything further I may be
able to provide, or if anyone would like to speak to me, please feel free to contact me directly.

Thank you.

Sincerely yours,

SANTARPIA LAW

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Sabatino C. Santarpia, Esq,

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